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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK__________
 MARIA J. PIZARRO,

                               Plaintiff,
               -against-
                                                              [PROPOSED] ORDER
EUROS EL TINA RESTAURANT LOUNGE AND                           DOCKET 20-CV-5783 (AKH)
BILLIARDS CORP, SANTIAGO QUEZADA, and
SANTIAGO QUEZADA, Jr.,

                                                Defendants.
                       -and-
JOSE E. CASTRO, ELADIO CASTRO PRODUCTIONS
INC., EMITON FERNANDEZ a.k.a. EMILIO
FERNANDEZ, NARCISO GOMEZ, ZOLIMAR MEJIA
a.k.a. ZULIMAR MEJIA, and TOMAS ANDRES
PIZARRO ZEPEDA,
                               Third-Party Defendants.
                                                __________

ALVIN K. HELLERSTEIN, U.S.D.J.:



               This matter having come before the Court on Plaintiff’s Motion to Compel the

Production of Documents (“Plaintiff’s Motion to Compel”), and the Court having reviewed the

case record and heard the arguments of the Parties, it is hereby ordered that:

                       1. Plaintiff’s Motion to Compel is GRANTED.

                       2. Defendants shall produce to Plaintiff’s counsel all non-privileged

                           documents, recordings, and electronically stored information within

                           their possession, custody, or control responsive to Plaintiff’s First

                           Request for Production at issue on or before July 7, 2021.
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                   3. Plaintiff is to be awarded costs and attorneys’ fees in an amount to be

                      determined.


                   SO ORDERED.

Dated:
                   New York, New York           __________________________
                                                      ALVIN K. HELLERSTEIN
                                                      United States District Judge
